Case 1:15-cv-13909-WGY Document 360 Filed 07/11/18 Page 1 of 37

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

SHIRE LLC and
SHIRE US INC.,

Plaintiffs,

CIVIL ACTION
NO. 15~13909-WGY

V.

ABHAI, LLC,

Defendant.

 

MEMDRANDUM & ORDER

YOUNG, D.J. July 11, 2018

I. INTRODUCTION

This memorandum and order arises out of post-trial motions
for attorney’s fees and other costs following a lengthy trial
regarding Abhai, LLC’s (“Abhai”) unauthorized use of Shire LLC
and Shire US Inc.'s (collectively “Shire”) United States
Reissued Patent No. RE42,096 and United States Reissued Patent

No. RE41,148. See Shire LLC V. Abhai, LLC, 298 F. Supp. 3d 303,

 

304-06 (D. Mass. 2018). With two days of trial remaining, Abhai
revealed that its stability dissolution testing data was
incorrect. Id. at 305, 329. lt proceeded to provide Shire with

the correct data, but by then the damage had been done. Id. at

[l]

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 2 of 37

329, 331. Shire had relied on the incorrect data, as it was
crucial to its case and the overall trial. ld; at 331.

Abhai’s decision to withhold the correct data caused a
delay in trial, extra expenses for Shire, and a drain on
judicial resources. ld; at 335-36. The Court thus sanctioned
Abhai in the amount of $30,000.00. ld; at 337. The Court also
ordered Shire to file a revised claim for attorney’s fees and
costs limited to “(a) recovering for the time wasted dealing
with Abhai’s inaccurate stability and dissolution data, (b)
discovering the litigation misconduct discussed immediately
above, and (c) dealing with Abhai's revised stability and
dissolution data.” ld; at 335.

Following the Court's orders, Shire filed a motion seeking
to recover attorney’s fees and expenses that it incurred due to
Abahi’s misconduct. Pls.' Appl. Reasonable Atty’s Fees &
Expenses (“Pls.’ Mem.”), ECF No. 342. Both parties have briefed
the issue of how much in attorney’s fees and expenses the Court
ought award Shire. See Pls.' Mem.; Def.’s Response Pls.' Appl.
Atty's Fees & Expenses (“Def.’s Resp.”), ECF No. 347; Decl.
William C. Rose with Exhibits A-M (“Rose Decl. I”), ECF No. 348;
Decl. William C. Rose with Exhibits AA-MM (“Rose Decl. II”),
ECF. No. 349; Pls.' Reply Supp. Appl. Reasonable Attys' Fees &
Expenses (“Pls.’ Reply”), ECF No. 355; Decl. Kevin B. Collins

(“Collins Decl.”), ECF No. 356; Def.’s Sur-reply to Pls.' Appl.

[2]

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 3 of 37

Atty's Fees & Expenses (“Def.’s Sur-reply”), ECF No. 359.

II. ANALYSIS

Following the denial of a motion to seal Shire’s motion for
reasonable attorney’s fees, the Court explained that it is not
evaluating the reasonableness of the fees requested by Shire,
unless such fees are unreasonably high. Electronic Order, ECF
No. 341. Rather, the Court is only concerned with the
attorney’s fees and costs that Shire paid “for necessary work
its counsel performed due to the misconduct of Abhai.” ld;

As instructed by the Court, Shire divided its billing
entries into the three categories. §ee Shire LLC, 298 F. Supp.
2d at 335; Pls.' Mem. at 6-9. The following is a description of
the work performed by Shire due to Abhai’s misconduct:

For category (a)[“time wasted dealing with
Abhai's inaccurate stability and dissolution data”],
the time entries included in the calculation from
September 2016 to April 2017 include:

' time spent analyzing Abhai’s ANDA containing
dissolution and stability data;

' time spent reviewing Abhai’s lab notebooks
containing dissolution and stability data;

~ time spent working with [Juniper Pharma
Services (“Juniper”)] on dissolution testing;

’ time spent working on [Dr. Shen Yung Luk's
(“Dr. Luk”)] opening expert report related to
dissolution testing (including the four pages in his
37-page opening report plus the short description in
Appendix E of his dissolution testing methodology);

' time spent working with [Dr. Jennifer Dressman
(“Dr. Dressman”)] on her reply report addressing
dissolution data;

' time spent preparing Dr. Dressman for
deposition;

' time spent reviewing [Dr. Diane Burgess’s (“Dr.

[3]

Case 1:15-cv-13909-WGY Document 360 Filed 07/11/18 Page 4 of 37

Burgess”)] expert report on inaccurate dissolution
data;

~ time spent deposing Dr. Burgess on inaccurate
dissolution data;

~ time spent preparing Dr. Luk for deposition;

' time spent deposing Abhai/[KVK Tech, lnc.
(“KVK”)] employees on inaccurate dissolution data;

' time spent preparing Dr. Dressman and Dr. Luk
for trial on inaccurate dissolution data; and

’ time spent preparing to cross examine Dr.
Burgess on inaccurate dissolution data.

For category (b)[“discovering the litigation
misconduct”], the time entries included in the
calculation from April 2017 to August
2017 include:

° time spent during first trial reviewing newly
disclosed dissolution and stability data;

' time spent opposing Abhai's attempt to amend
the pretrial order and introduce evidence at the first
trial not produced during fact discovery;

' time spent at the court hearing convened to
determine the best path forward;

~ time spent drafting discovery requests;

~ time spent reviewing Abhai’s responses to
interrogatories and request for production;

' time spent reviewing Abhai documents produced
after the first trial in April 2017;

‘ time spent pressing Abhai for more information
and additional documents;

' time spent moving to compel production of
documents and additional information, including
related legal research;

- time spent researching the relationship between
KVK and Abhai;

' time spent collecting dissolution testing for
third parties to show issues with Abhai’s testing; and

~ time spent preparing for and taking the
depositions of Anthony Tabasso, Jordan Rees,

Ashvin Pancheal, Frank Nekovanik, Murty Vepuri, Ranga
Namburi, Todd Leo, Benjamin Roembke, Sameer Late, and
Kevin O'Loughlin.

For category (c)[“dealing with Abhai's revised
stability and dissolution data”], the time entries
included in the calculation from April 2017 to
September 2017 include:

[4]

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 5 of 37

' time spent developing a response to the revised
stability and dissolution data;

~ time spent analyzing Abhai’s document
productions in light of revised stability and
dissolution data;

' time spent with Dr. Luk and Juniper regarding
new dissolution studies being conducted;

' time spent with Dr. Dressman on a supplemental
expert report addressing Abhai’s revised stability and
dissolution data;

' time spent working with consulting experts to
understand issues raised by the revised dissolution
data;

' time spent collecting information about other
dissolution studies for Adderall XR, including those
in Shire’s NDA;

' time spent moving to compel Abhai to produce
more documents and provide additional information
relevant to understanding the revised stability and
dissolution data; and

~ time spent preparing Dr. Dressman for the
second trial.

Shire’s total request for fees and costs as a result of the
misconduct is $2,335,034.91. §ee Pls.' Mem., Ex. A at 86.
Abhai disagrees and argues that Shire’s award should be reduced
to $998,465.91. Def.’s Resp. at 16. Abhai argues that Shire is
not entitled to all the fees associated with the following
categories of billing entries:
~ “time spent analyzing Abhai’s ANDA containing dissolution and
stability data;”
~ “time spent reviewing Abhai’s lab notebooks containing
dissolution and stability data;”

° “time spent working with Juniper on dissolution testing;”

' “time spent working on Dr. Luk's opening expert report related

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 6 of 37

to dissolution testing;”
° “time spent preparing Dr. Luk for deposition;”
' “time spent preparing Dr. Luk for trial on inaccurate
dissolution data;”
~ “Shire's discovery motion practice;”
' “Shire's depositions of current and former KVK employees;”
' “time spent researching the relationship between KVK and Abhai
and the ownership of KVK;”
' “time spent with Dr. Luk and Juniper regarding new dissolution
studies being conducted” and “work performed by Dr. Luk and
Juniper;”
' “time spent collecting dissolution testing [from] third
parties;”
' “time spent collecting information about other dissolution
studies for Adderall XR;” and
~ “fees and costs associated with Dr. Dressman.”
ld; at 4-14 (quoting Pl.’s Mem. at 7-9).

Abhai is correct that Shire is not entitled to all the fees
associated with the above-referenced entries because they are
not all but-for results of Abhai’s misconduct. §§§ Goodyear

Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1187 (2017).

 

A. Standard
Federal courts have “the ability to fashion an appropriate

sanction for conduct which abuses the judicial process." Id. at

[6]

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 7 of 37

1186 (quoting Chambers v. NASCO, lnc., 501 U.S. 32, 44-45
(1991)). An assessment of attorney’s fees is a proper sanction.
ld; The assessment, however, must be compensatory and not
punitive. ld; The goal is to “redress the wrong party ‘for
losses sustained’” as a result of the improper conduct. ld;

(quoting Mine Workers v. Bagwell, 512 U.S. 821, 829 (1994)).

 

“The complaining party [] may recover ‘only the portion of his
fees that he would not have paid but for’ the misconduct.” ld;
at 1187. “This but-for causation standard generally demands
that a district court assess and allocate specific litigation
expenses -- yet still allows it to exercise discretion and
judgment.” Id. “‘The essential goal' in shifting fees is ‘to

do rough justice, not to achieve auditing perfection.'” Id.

(quoting FOX V. Vice, 563 U.S. 826, 838 (2011)).

1. Category A: Time Wasted Dealing with Inaccurate
Data

Abhai claims that Shire is not entitled to recover fees for
time spent analyzing and reviewing Abhai’s Abbreviated New Drug
Application (“ANDA”) dissolution and stability data and
reviewing Abhai's lab notebooks containing the data acquired
between September 2016 and April 2017, before the discovery of
Abhai’s misconduct. Def.’s Resp. at 4-5. Abhai also argues
that Shire is not entitled to any fees and costs associated with

Dr. Luk and Juniper, as well as fees and costs associated with

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 8 of 37

Dr. Dressman, incurred during the relevant time frame. ld; at
5-6.

Abhai is correct that Shire is not entitled to all the fees
associated with time spent analyzing Abhai’s ANDA stability and
dissolution data. Shire is only entitled to the costs it
incurred reviewing the incorrect dissolution data. Abhai
provided Shire with thirty-eight dissolution tests performed on
different strengths of Abhai’s ANDA Product, five of which were
incorrect. Shire LLC, 298 F. Supp. 3d at 309-10. Shire would
have still reviewed the other thirty-three tests, regardless of
the five incorrect tests. See generally Goodyear Tire & Rubber
§9;, 137 S. Ct. at 1186. Therefore, Shire’s award will be
reduced by 86.8% to account for the correct data, or $9,004.63.
§ee infra Appendix A.l

Shire cannot recover for Dr. Luk’s or Juniper’s work
because Dr. Luk performed his own independent dissolution
analysis on samples of Abhai’s ANDA Product, Rose Decl. l, Ex.
D at 5; Shire LLC, 298 F. Supp. 3d at 308-09. Neither Dr. Luk’s

testimony nor his expert report contained any reference to the

incorrect data. See Rose Decl. l, Ex. D. Therefore, the Court

 

1 Appended to this memorandum and order are charts with the
relevant billing entries the Court used to calculate the
reduction of attorney’s fees and costs.

[8]

Case 1:15-cv-13909-WGY Document 360 Filed 07/11/18 Page 9 of 37

will reduce Shire’s award by $23,452.67.2 §§e infra Appendix A.

The Court will not award Shire fees for work performed by
Dr. Dressman on the correct stability data prior to the
discovery of the misconduct, because these are not proper but-
for tasks. As one of Shire’s key experts, Dr. Dressman would
have analyzed these numbers at least once to form her opinion as
to whether Abhai’s ANDA Product infringed on Shire’s patents.
Shire’s award for Dr. Dressman's work will be reduced by 86.8%,
Or $203,616.74. §ee infra Appendix A.

2. Discovering the Litigation Misconduct

Abhai argues that Shire should not be reimbursed for
motions to compel discovery, for depositions performed on
current and former KVK employees, and for time spent researching
the relationship between KVK and Abhai and the ownership of KVK,
between the period of April 2017 and August 2017. Def.’s Resp.
at 8-12.

During the above time period, Shire filed three motions to

compel discovery, See ECF Nos. 186, 196,3 218. Only one motion

 

2 ln its reduction, the Court has taken into account billing
entries containing multiple tasks that are proper but-for tasks,
and has divided the amount of time by the number of tasks. lt
only reduces the fees by the dollar amount that it cost to
perform the tasks that are not proper but-for tasks.

3 On June 9, 2017, Shire filed an amended motion to its
Motion to Compel Production of Documents Withheld or Redacted as
Attorney-Client Privileged, Attorney Work Product, or Non-
Responsive, ECF No. 196. §§§ Am. Mot. Compel Produc. Docs.

[9]

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 10 of 37

was allowed in part. See ECF No. 195. Shire is not entitled to

recover for unsuccessful motions. See United States v. One Star

 

Class Sloop Sailboat built in 1930 with hull no. 721, named

 

“Flash ll”, 546 F.3d 26, 39 (1st Cir. 2008) (“[A]n inquiring
court may simply exclude time spent in litigating []
unsuccessful claims. . . .[T]ime invested in issues that are
litigated profligately, unnecessarily, or without benefit to the

prevailing party may be disallowed.”); Specialty Retailers, lnc.

 

v. Main Street NA Parkade, LLC, 804 F. Supp. 2d 68, 74 (D. Mass.

 

2011) (Neiman, J.) (reducing fees for time spent on
“unsuccessful motions to dismiss”). The total amount of money
expended on the three motions totaled $302,593.00. §e§ infra
Appendix B. lt is unclear how much of those expenses relate to
the motion that was granted in part. Therefore, the total will
be divided equally among the three motions. Each motion would
then have a cost of $100,864.33. Shire is entitled to half of
$100,864.33 ($50,432.17) to account for the motion that was
granted in part. Therefore, Shire’s award will be reduced by
$252,160.83. §e§ infra Appendix B.

Shire is entitled to the costs associated with the
deposition of current and former KVK employees, as well as time

spent researching the relationship between KVK and Abhai and the

 

Withheld or Redacted as Att’y-Client Privileged, Atty Work
Product, or Non-Responsive, ECF No. 206.

[lO]

Case 1:15-cv-13909-WGY Document 360 Filed 07/11/18 Page 11 of 37

ownership of KVK, because these tasks were taken in order to
determine who had knowledge of the incorrect dissolution data.
Pls.' Mem. at 4. But for the misconduct, Shire would not have
engaged in the aforementioned tasks.

3. Dealing with Abhai’s Revised Stability
Dissolution Data

Abhai argues that Shire is not entitled to recover for the
time spent with and worked performed by Dr. Luk and Juniper
regarding the new dissolution data, analysis of third party or
Adderall XR dissolution data, and fees associated with Dr.
Dressman, during the period of April 2017 and September 2017.
Def.’s Resp. at 12-15.

Even after Shire received the new and accurate dissolution
data from Abhai, neither Dr. Luk nor Juniper conducted any tests
or analysis that involved this particular data. §§e Reply Supp.
Expert Report of Dr. Luk (“Dr. Luk Reply Report”), ECF No. 227-
1. Rather, Dr. Luk performed new tests on different samples of
Abhai’s ANDA product, similar to the tests conducted before the
misconduct was revealed. §§§ id; Moreover, Dr. Luk’s reply
supplemental expert report following the misconduct does not
reference the correct data. §§e id; The incorrect data did not
affect any of Dr. Luk’s prior testing. Any additional testing
done by Dr. Luk using Juniper was unnecessary. Therefore, the

Court reduces Shire’s award by $151,096.59 and $167,891.63, for

[11]

Case 1:15-cv-13909-WGY Document 360 Filed 07/11/18 Page 12 of 37

work conducted by Dr. Luk and Juniper respectively.’*'5 §§e infra
Appendix C.

Abhai argues that its late disclosure is not the but-for
cause of Shire’s third party testing of Adderall XR. Def.’s
Resp. at 13. lt is unclear to the Court how Abhai's misconduct
would require Shire to perform third party testing on Adderall
XR. Therefore, Shire’s award is reduced by $26,356.50. §§§
infra Appendix C.

Shire is entitled to all fees and costs associated with Dr.
Dressman following the revelation of the misconduct. As a
result of the misconduct, Dr. Dressman's expert report had to be
amended in light of the corrected data. Pls.' Mem. at 4; Rose
Decl. l, Ex. J at 1-2. Dr. Dressman was “fully prepped and
ready to testify in April and had to be re-prepared to testify
for the second time when trial resumed in September.” Pls.'
Reply at 4. Shire’s award will thus not be reduced to account
for Dr. Dressman's fees and costs.

B. Calculation of Fees

The table below illustrates the fees requested by Shire,

the Court's reduction, and the fees ultimately awarded to Shire.

 

4 The award is not reduced by proper but-for tasks found in
billing entries that also incorporate tasks performed with

regard to Dr. Luk.
5 Fees associated with Juniper total $167,891.63. See Pls.'

Mem., Ex. A at 87.

[12]

Case 1:15-cV-13909-WGY Document 360

Filed 07/11/18 Page 13 of 37

 

AmOUI`lt

 

Shire’s Request

$2,335,034.91

 

Abhai's Request for Reduction

$1,336,569.00

 

Court's Reduction

 

$833,579.59

 

 

Total Award to Shire: $1,501,455.32

 

III. CONCLUSION

For the foregoing reasons,

this Court awards Shire

attorneys’ fees and costs totaling $1,501,455.32.

SO ORDERED.

1131

%L»Jééw»w

WILLIAM G.
DISTRICT J DGE

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 14 of 37

Appendix A: Shire’s Category A: “Time Wasted Dealing with
Inaccurate Data” Relevant Billing Entries

 

Dissolution and Stability Data in Abhai's ANDA and Lab

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Notebooks
Date Amount Description

9/16/16 $570.00 Review and analyze Abhai lab
notebooks.

10/2/2016 $1,299.50 Review Abhai ANDA.

10/15/16 $370.00 Emails re: Abhai’s dissolution tests.

10/15/16 $370.00 Emails re: Abhai’s dissolution tests.

11/2/2016 $237.50 Compile laboratory notebooks for
review by Juniper pharma.

11/8/2016 $1,187.50 Review and analyze Abhai document
production; analyze stability data
and draft email to team re: same.

11/28/16 $2,373.00 Review Abhai ANDA and tabulate,
analyze dissolution testing results.

11/29/2016 $1,469.00 Tabulate and analyze stability data
from Abhai ANDA and research re:
Ritalin LA, other enteric drug
formulations.

12/13/16 $2,260.00 Review Abhai ANDA to confirm
outstanding issues re: dissolution
testing.

12/14/16 $237.50 Call w/ Juniper pharma re: Abhai lab
notebooks.

ToTAL : $ 10,374.006

 

 

6 This is the total amount of money spent analyzing both the

correct and incorrect dissolution data.

This amount is reduced

by 86.8% to account for the correct data.

[14]

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 15 of 37

 

Fees and Costs Associated with Dr. Luk

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Amount Description

9/28/16 $66.50 Call with Juniper and E. Andersen
regarding testing.

10/3/16 $198.00 Correspondence with Juniper re:
dissolution testing for 20 and 30 mg
strength.

10/4/16 $198.00 Correspondence with Juniper re:
testing of Samples.

10/5/16 $237.50 Review dissolution testing protocol
and send to Juniper.

10/12/16 $l,188.00 Work on drafting Luk report.

10/14/16 $990.00 Calls with J. Elikan, T. Hamilton,
and S. Luk re: expert report. Work on
expert report.

10/14/16 $226.00 Meeting with Shen Luk re:
infringement report and follow-up
with E. Andersen.

10/15/16 $1,188.00 Edit Luk expert report in light of
call on 10/14, send to S. Luk.

10/18/16 $282.50 Meeting with S. Luk, Juniper re:
infringement report.

10/19/16 $2,046.00 Receive revised draft from S. Luk,
revise draft of Luk report, send
revised draft to S. Luk. Review and
check exhibits to Luk report.

10/20/16 $237.50 Review and analyze Luk expert report.

10/21/16 $522.50 Review and revise Luk expert report
and appendix.

10/21/16 $2,310.00 Finalize Luk report for service.

11/2/16 $237.50 Compile laboratory notebooks for
review by Juniper pharma.

12/8/16 $1,188.00 Edit Dressman expert report.

($594.00) Correspondence with team re:
Dressman/Luk deposition.

12/14/16 $237.50 Call w/ Juniper pharma re: Abhai lab
notebooks.

12/14/16 $339.00 Meeting with Juniper re: Abhai
dissolution testing.

3/15/17 $4,950.00 Work on Dressman and Luk outlines.

($1,650.67) Answer correspondence and calls re:
pretrial submissions. Team meeting
(0.4).
3/17/17 $6,270.00 Trial work: Prep session with Dr.
($1,567.50) Jennifer Dressman, Work on Dressman

 

 

outline. Work on Luk outline. Answer

 

[15]

 

Case 1:15-cv-13909-WGY Document 360 Filed 07/11/18 Page 16 of 37

 

 

 

 

 

 

 

 

 

questions from team re: pretrial
submissions.
3/18/17 $7,260.00 Trial prep: Prep session with Dr.
($3,630.00) Dressman. Revise Luk outline and
slides with J. Elikan.
3/24/17 $10,428.00 Trial prep: Luk direct, Burgess
($3,476.00) cross, opening.
3/27/17 $3,300.00 Attend trial. Conduct Luk direct.
($1,650.00) Objections to Burgess direct.
3/30/17 $380.00 Meeting to discuss briefing on Luk
dissolution testing issue.
TOTAL: $ 23,452.67

 

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 17 of 37

 

Fees and Costs Associated with Dr. Dressman

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Amount Descr.'i.ption

11/22/16 $1,356.00 Preparation for and meeting with Dr.
Dressman re: reply report.

11/28/16 $1,808.00 Review notes from Dr. Dressman re:
reply report and related research
into products and enteric coatings
described therein.

11/29/16 $990.00 Call with T. Hamilton and Professor
Dressman re: reply report.

11/29/16 $1,130.00 Preparation for and meeting with Dr.
Dressman re: reply report.

11/30/16 $924.00 Work with T. Hamilton on outline for
Dressman report. Review expert
materials.

11/30/16 $3,955.00 Draft and revise outlines of Dressman
reply report; correspondence with E.
Andersen, team re: same.

12/1/16 $286.50 Review outline for J Dressman
responsive report.

12/1/16 $4,633.00 Outline, draft Dressman expert
report.

12/2/16 $902.50 Review and analyze Dr. Dressman's
reply report outline; draft email to
team re: same.

12/5/16 $904.00 Review notes from Dr. Dressman and
outline revisions to report.

12/5/16 $1,130.00 Preparation for and meeting with Dr.
Dressman re: reply report.

12/6/16 $4,294.00 Revise Dressman expert report.

12/7/16 $4,859.00 Revise Dressman expert report.

12/8/16 $1,188.00 Edit Dressman expert report.
Correspondence with team re:
Dressman/Luk deposition.

12/8/16 $4,520.00 Revise Dressman expert report.

12/9/16 $990.00 Call with Dr. Dressman re: expert
report.

12/9/16 $1,386.00 Edit Dressman report.

12/9/16 $1,017.00 Meeting with Dr. Dressman re:
infringement report and preparation
for same.

12/10/16 $1386.00 Edit Dressman expert report.

12/12/16 $95.00 Review and analyze dissolution

 

 

testing protocols for Dressman expert
report.

 

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 18 of 37

 

12/12/16

$4,802.50

Revise Dressman expert report and
confer with E. Andersen re: same;
related research.

 

12/13/16

$1,386.00

Edit Dressman report and send edits
to T. Hamilton.

 

12/13/16

$1,130.00

Meeting with Dr. Dressman re:
infringement report and prepare for
same, review article from Dr.
Dressman.

 

12/13/16

$1,751.50

Review, revise Dressman expert
report.

 

12/14/16

$924.00

Edit Dressman report.

 

12/15/16

$990.00

Call with Dr. Dressman re: expert
report. Work on Dressman report.

 

12/15/16

$565.00

Meeting with Dr. Dressman re:
infringement report and preparation
for same.

 

12/15/16

$3,785.50

Review, revise Dressman expert
report; collect, organize, and check
exhibits; create exhibit list and
appendices.

 

12/16/16

$1,650.00

Help finalize Dressman report for
service.

 

12/16/16

$3,446.50

Revise, cite-check and finalize
Dressman expert report, exhibits and
appendices and confer re: same.

 

1/9/17

$1,071.00

Review, organize exhibits for
Dressman deposition preparation and
correspondence re: same.

 

1/11/17

$2,737.00

Draft Dressman deposition preparation
outline and correspondence with D.
Parker re: same.

 

1/12/17

$858.00

Preparation for Dressman deposition.

 

1/12/17

$3,629.50

Draft, revise Dressman deposition
preparation outline and review
related materials.

 

1/13/17

$1,782.00

Preparation for Burgess and Dressman
depositions. Correspondence with team
re: same.

 

1/13/17

$1,844.50

Revise Dressman deposition
preparation outline and confer with
E. Andersen re: same.

 

1/16/17

$1,914.00

Preparation for Dressman deposition.

 

 

1/16/17

 

$7,162.50

 

Review expert reports in preparation
for meeting with J Dressman and
confer with E Andersen re same.

 

 

Case 1:15-cv-13909-WGY Document 360 Filed 07/11/18 Page 19 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1/17/17 $2,508.00 Prepare for Dressman deposition prep
with J. Elikan and T. Hamilton.

1/17/17 $2,865.00 Prepare for meeting with J Dressman.

1/18/17 $4,581.50 Deposition preparation meeting with
Dr. Dressman.

1/19/17 $4,422.00 Prepare for deposition of Dr.
Jennifer Dressman (review materials
and prep expert).

1/19/17 $6,207.50 Prepare J Dressman for deposition.

1/19/17 $3,153.50 Deposition preparation meeting with
Dr.Dressman.

1/20/17 $5,831.00 Attend Dressman deposition and
follow-up with case team re: same.

3/7/17 $5176.50 Draft Dressman direct outline.

3/8/17 $5,295.50 Draft Dressman direct outline.

3/10/17 $3,094.00 Review Dressman and Burgess
deposition transcripts and outline
cross modules.

3/12/17 $3,366.00 Edit Dressman direct.

3/13/17 $2,865.00 Review J Dressman outline.

3/13/17 $5,414.50 Revise Dressman direct outline.

3/14/17 $6,534.00 Trial prep: Edit Dressman direct with
J. Elikan, call with client (0.8),
answer questions re: pretrial
procedures.

3/14/17 $10,887.00 Work on Dressman direct examination
outline, other trial preparation.

3/14/17 $1,428.00 Revise Dressman direct outline.

3/15/17 $4950.00 Work on Dressman and Luk outlines.
Answer correspondence and calls re:
pretrial submissions. Team meeting
(0.4).

3/15/17 $2,677.50 Revise Dressman direct outline.

3/16/17 $6,402.00 Prep session with Dr. Jennifer
Dressman. Revise outline/slides re:
same.

3/16/17 $6,270.00 Trial work: Prep session with Dr.
Jennifer Dressman. Work on Dressman
outline. Work on Luk outline. Answer
questions from team re: pretrial
submissions.

3/17/17 $6,971.50 Meeting with J Dressman in
preparation for trial.

3/18/17 $7,260.00 Trial prep: Prep session with Dr.

 

 

Dressman. Revise Luk outline and
slides with J. Elikan.

 

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 20 of 37

 

3/18/17

$6,685.

00

Meeting with J Dressman in
preparation for trial.

 

3/23/17

$595.00

Revise Dressman direct outline and
slides.

 

3/24/17

$595.00

Trial: Revise Dressman slides and
annotated Slides.

 

3/25/17

$6,545.

00

Trial: Revise, revise Dressman
annotated slide deck; outline
Dressman redirect modules; review
McGough direct outline and cite-
check/add support.

 

3/29/17

$6,069.

00

Trial: Revise Dressman mock cross
modules; draft redirect modules;
revise direct slides.

 

3/30/17

$4,440.

50

Review Feifel cross examination
outline; attend trial; draft Dressman
cross and redirect.

 

3/31/17

$4,494.

00

Draft Dressman cross and redirect.

 

3/31/17

$9,306.

00

Prep for trial: closing, Dressman
outline, and shelf life research.

 

3/31/17

$5,533.

50

Trial: Meeting re: Dressman direct
outline; revise same; review Dresman
slides and correspondence re: same.

 

3/30/17

 

$2,975.

00

 

Trial: Meeting to revise Dressman
direct outline and slides and
preparation for same.

 

TOT¥HL:

 

$234 ,581 . 507

 

 

7 This is the total amount of money spent analyzing both the

correct and incorrect dissolution data.

This amount is reduced

by 86.8% to account for the correct data.

[20]

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 21 of 37

Appendix B: Shire’s Category B: “Discovering the Litigation
Misconduct” Relevant Billing Entries

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Shire’s Discovery Motion Practice
Date Amount Description

5/3/17 $476.00 Confer with A. Whitt, D. Parker re:
motion to compel and related meet-
and-confer and review draft motion to
compel.

5/4/17 $107.00 Coordinated with D. Parker and local
counsel regarding filing of motion to
compel.

5/4/17 $5,082.50 Revise motion to compel.

5/4/17 $476.00 Confer with D. Parker, K. Collins re:
motion to compel and review edits to
same

5/5/17 $4,066.00 Revise motion to compel discovery and
compile exhibits for filing.

5/5/17 $2,706.00 Assist with finalizing all motion to
compel documents. Numerous calls re:
same.

5/5/17 $960.00 Final review of motion to compel
discovery.

5/5/17 $573.00 Review and revise motion to compel.

5/5/17 $4,625.00 Attention to motion to compel.

5/5/17 $1,130.50 Draft motion to compel documents from
privilege logs.

5/8/17 $1,387.50 Attention to motion to compel.

5/8/17 $119.00 Correspondence re: motion to compel
documents from privilege logs

5/8/17 $3,332.00 Draft motion to compel documents from
privilege logs.

5/9/17 $2,193.50 Reviewed motion to compel briefing,
including opposition from Abhai.
Began reviewing document productions
from Abhai. Reviewed reply in support
of motion to compel and conferred
with T. Hamilton regarding same.

5/9/17 $5,724.50 Draft reply in support of motion to
compel discovery and compile exhibits
for filing.

5/9/17 $330.00 Call with K. Collins re: motions to
compel and discovery.

5/9/17 $726.00 Review Abhai's Opposition to Motion
to Compel call logs/requests 88-90.

 

[21]

 

CaS€ 1215-CV-13909-WGY

Document 360 Filed 07/11/18 Page 22 of 37

 

Send to client. Call with D. Parker
re: same (0.2).

 

5/9/17

$1,650.00

Edit privilege motion to compel, send
email to team re: same.

 

5/9/17

$955.00

Draft introduction for reply in
support of motion to compel.

 

5/10/17

$3,049.50

Assisted with finalization of reply
in support of motion to compel.
Conducted research and analyzed cases
discussing choice of discovery
methods and privilege issues. Drafted
and revised declaration discussing
time and expense required for
discovery requested from Abhai.
Reviewed draft of reply in support of
motion to compel. Continued reviewing
documents produced by Abhai.

 

5/10/17

$5,564.00

Draft reply in support of motion to
compel discovery and compile exhibits
for filing.

 

5/10/17

$1,050.50

Work on reply brief on motion to
compel.

 

5/10/17

$2,775.00

Attention to motion to compel.

 

5/10/17

$476.00

Draft declaration of S. Bilbrey and

review related reply brief on motion
to compel, confer with A. Whitt, K.

Collins re: same.

 

5/10/17

$714.00

Revise motion to compel documents
from privilege logs and confer with
E. Andersen re: same

 

5/11/17

$2,247.00

Draft reply in support of motion to
compel discovery and compile exhibits
for filing.

 

5/11/17

$396.00

Review of stability documents. Call
with K. Collins re: motion to compel
(0.2).

 

5/11/17

$528.00

Answer questions re: motion to compel
documents. Draft and read
correspondence re: same.

 

5/11/17

$2,674.00

Review draft reply brief on motion to
compel production of documents and
draft motion re attorney-client
privilege; review treatise on scope
of work product immunity doctrine.

 

 

5/ll/l7

 

$2,775.00

 

Attention to reply in support of
motion to compel.

 

[22]

 

Case 1:15-cv-13909-WGY Document 360 Filed 07/11/18 Page 23 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5/12/17 $1,123.50 Reviewed motion to compel briefing,
Reviewed and analyzed documents
related to Abhai's dissolution
testing. Conferred with D. Parker
regarding same.

5/12/17 $1,123.50 Revise reply to motion to compel and
compile exhibits.

5/12/17 $1,380.00 Reviewed motion to compel re
privilege and provided comments.

5/12/17 $480.00 Reviewed amended reply to motion to
compel.

5/12/17 $1,337.00 Revise motion to compel and draft,
exchange emails re same.

5/12/17 $1,387.50 Attention to motion to compel on
privilege calls.

5/12/17 $2,312.50 Attention to reply in support of
motion to compel.

5/17/17 $4,280.00 Draft motion to compel production of
information designated as non-
responsive.

5/17/17 $1,387.50 Attention to motion to compel.

5/17/17 $773.50 Review, edit combined motion to
compel.

5/17/17 $2,499.00 Revise motion to compel production of
privileged documents.

5/18/17 $3,317.00 Revise motion to compel discovery.

5/18/17 $477.50 Review draft motion to compel.

5/18/17 $4,625.00 Work on motion to compel and numerous
emails with team re: same.

5/18/17 $178.50 Correspondence re: exhibits to
combined motion to compel.

5/18/17 $297.50 Review revised combined motion to
compel.

5/18/17 $773.50 Review, edit combined motion to
compel.

5/19/17 $2,775.00 Work on motion to compel and numerous
emails with team re: same.

5/22/17 $2,312.50 Attention to various discovery issues
and motion to compel.

5/24/17 $382.00 Review opposition to motion to
compel.

5/24/17 $925.00 Attention to various discovery issues
and motion to compel.

5/25/17 $1,850.00 Attention to various discovery issues

 

 

and motion to compel.

 

 

ease 1:15-cv-13909-v\/GY

Document 360 Filed 07/11/18 Page 24 of 37

 

5/26/17

$924.00

Calls with K. Collins and J. Elikan
re: discovery issues (0.3). Review
materials and send J. Dressman
information re: Shire and Abhai
dissolution (0.4). Review opposition
to motion to compel (0.7).

 

5/26/17

$286.50

Exchange e-mails re reply brief on
motion to compel.

 

5/26/17

$1,387.50

Attention to reply in support of
motion to compel.

 

5/30/17

$1,444.50

Reviewed motion to compel briefing,
Began reviewing and categorizing
documents produced in recent
productions from Abhai.

 

5/30/17

$3,638.00

Revise reply in support of motion to
compel.

 

5/30/17

$925.00

Attention to reply in support of
motion to compel.

 

6/7/17

$1,123.50

Prepare for fact deposition.

 

6/7/17

$1,391.00

Draft talking points for motion to
compel

 

6/16/17

$3,317.00

Prepared for deposition of KVK Tech
fact witnesses. Conferred with D.
Parker and K. Collins regarding
depositions, filing a motion to
compel, and research project
regarding adverse inferences when
asserting attorney-client privilege.
Drafted and circulated proposed
schedule of pre-trial deadlines.

 

6/19/17

$2,332.00

Conduct legal research regarding
motion to compel depositions and
discovery; draft motion to compel re:
same.

 

6/20/17

$704.00

Conduct legal research regarding the
standard for a motion to compel
depositions and discovery;
communicate with T. Park re: same.

 

7/3/17

$1,712.00

Calls w/ K. Collins et al. and J.
Cieluch re: motion to compel.

 

 

7/3/17

 

$3,564.00

Discuss discovery issues and motion
to compel with D. Parker, conduct
legal research regarding privilege
waiver issues, draft summary of legal
research findings and recommendation,
analyze deposition testimony in

 

support of discovery requests.

 

[24]

 

CaS€ 1215-CV-13909-WGY

Document 360 Filed 07/11/18 Page 25 of 37

 

7/5/17

$3,514.50

Conduct legal research re privilege
issues, analyze deposition testimony
re discovery, draft summary of legal
research and analysis, discuss motion
to compel with team, draft motion to
compel regarding privilege waiver
issues, attend team meeting regarding
outstanding items, discuss motion
regarding expert witness testimony at
trial.

 

7/6/17

$1,011.50

Participate in meet-and-confer and
follow-up with K. Collins, D. Parker;
further follow-up with J. Cieluch re:
related motion to compel.

 

7/6/17

$1,904.00

Review and revise motion to compel
sections re: privilege log entries
and review related case law.

 

7/7/17

$4,950.00

Draft motion to compel regarding
privilege waiver issues, conduct
research regarding settlement
privilege, conduct research regarding
the company's ownership related to
sanctions, summarize analysis of
legal research and discuss findings
with team, draft edits to motion to
compel based on discussions with T.
Hamilton

 

7/7/17

$2,775.00

Attention to motion to compel.

 

7/7/17

$714.00

Review and revise motion to compel
sections re: privilege log entries
and review related case law;
correspondence re: same.

 

7/8/17

$1,444.50

Draft motion to compel.

 

7/8/17

$925.00

Telephone call with Parker re: motion
to compel.

 

7/9/17

$481.50

Conference call re: motion to compel;
prepare for same; draftt email to
Abhai re: same.

 

7/9/17

$742.50

Conduct legal research regarding work
product doctrine and waiver, analyze

and summarize work product arguments,
discuss analysis of work product and

motion to compel with K. Collins and

D. Parker,

 

 

7/8/17

 

$925.00

Telephone call with Parker, Whitt and

 

Cieluch re: motion to compel.

 

1251

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 26 of 37

 

7/10/17

$3,762.00

Conduct legal research for motion to
compel regarding corporate ownership,
analyze arguments for motion to
compel, discuss same with D. Parker,
draft motion to compel; analyze
communications logged as privileged
and discuss same with D. Parker;
conduct research regarding agency law
and discuss same with D. Parker

 

7/11/17

$3,531.00

Revise motion to compel.

 

7/11/17

$742.50

Conduct legal research regarding
attorney-client privilege waiver and
work product doctrine waiver, analyze
arguments for motion to compel.

 

7/11/17

$1,850.00

Attention to motion to compel.

 

7/12/17

$1,980.00

draft letter to opposing counsel
regarding availability of expert
witnesses, discuss same with E.
Andersen, incorporate edits and
finalize letter; review motion to
compel brief, review discovery
production, analyze privilege logs,
and analyze work product doctrine
protection waiver based on
productions

 

7/l2/l7

$1,850.00

Attention to motion to compel.

 

7/12/17

$357.00

Review draft motion to compel.

 

7/13/17

$2,247.00

Revise motion to compel; circulate to
team.

 

7/14/17

$3,370.50

Draft motion to compel.

 

7/14/17

$1,881.00

Discuss privilege waiver arguments
for motion to compel with D. Parker
and K. Collins, conduct legal
research regarding subject matter
waiver of privilege and work-product
protection.

 

7/14/17

$2,312.50

Attention to motion to compel.

 

7/14/17

$1,282.50

Assess diligence in support of motion
to compel discovery. Review and edit
motion to compel discovery.

 

7/18/17

$3,852.00

Revise motion to compel, compile
exhibits.

 

 

7/18/17

 

$2,970.00

 

Draft motion to compel sections
regarding privilege and work-product
waiver, draft changes to introduction
and conclusion based on same,
incorporate edits from team, conduct

 

[26]

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 27 of 37

 

cite check of legal citations and
factual citations, compile and
quality check exhibits; research
Nekoranik emails and document
production, analyze documents
regarding Nekoranik to prepare for
deposition, draft deposition outline.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7/19/17 $2,782.00 Revise motion to compel and compile
exhibits.

4/19/17 $665.00 Begin drafting motion to compel
production of documents.

4/20/17 $1,662.50 Draft motion to compel production of
documents and information,

4/21/17 $1,282.50 Draft and revise motion to compel
production of documents.

4/24/17 $1,230.50 Conferred with K. Collins and D.
Parker regarding Mot. to Compel.
Conferred with D. Parker regarding
outline of motion to compel.

4/24/17 $214.00 Meeting w/ K. Collins and A. Whitt
re: motion to compel.

4/24/17 $3,370.50 Review Abhai document productions and
discovery correspondence; draft
outline for motion to compel.

4/24/17 $95.00 Call with D. Parker regarding motion
to compel and status of Abhai
production.

4/25/17 $1,016.50 Continued reviewing Abhai document
productions. Discussed productions
and motion to compel with D. Parker,

4/26/17 $2,728.50 Draft outline for motion to compel.

4/26/17 $264.00 Meeting with A. Whitt re: stability
data and motions to compel, call with
K. Collins re: same.

4/27/17 $5,189.50 Draft motion to compel.

4/27/17 $1,782.00 Draft motion to compel (R. Williams)
and review materials related to same.

4/27/17 $595.00 Review outline for motion to compel
and confer with K. Collins, D. Parker
re: same.

4/28/17 $107.00 Draft motion to compel.

4/28/17 $3,234.00 Finish motion to compel. Meetings
with J. Elikan re: same. Edit same.

4/28/17 $1,387.50 Attention to motion to compel.

4/28/17 $2,082.50 Revise motion to compel and related

 

 

research.

 

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 28 of 37

 

5/1/17

$5,457.00

Draft and revise motion to compel.

 

5/1/17

$2,312.50

Attention to motion to compel.

 

5/1/17

$238.00

Confer with D. Parker re: motion to
compel.

 

5/2/17

$2,675.00

Reviewed draft of motion to compel
and conferred with D. Parker and K.
Collins regarding same. Reviewed
document productions from Abhai.
ldentified issues to discuss during
meet and confer with opposing
counsel.

 

5/2/17

$3,959.00

Draft and revise motion to compel.

 

5/2/17

$2,775.00

Attention to motion to compel.

 

5/2/17

$416.50

Confer with D. Parker, K. Collins re:
motion to compel, privilege issues
related to same.

 

7/17/17

$5,197.50

Conduct legal research regarding
subject matter waiver of privilege
and work-product protection, draft
motion to compel based on analysis re
same, incorporate edits from team,
conduct cite check of legal citations
and factual citations, compile and
quality check exhibits; research
Nekoranik emails and document
production, analyze documents
regarding Nekoranik to prepare for
deposition, draft deposition outline.

 

8/1/17

$3,700.00

Attention to motion to compel and
discovery issues.

 

8/2/17

$3,700.00

Attention to motion to compel and
discovery issues.

 

8/4/17

$4,868.50

Draft reply in support of Shire's
motion to compel Tabasso's cell phone
and other requests.

 

8/4/17

$480.00

Reviewed reply memorandum on motion
to compel Tabasso documents.

 

8/4/17

$4,059.00

Analyze motion to compel response,
discuss same with David Parker; draft
and revise pretrial memorandum,
discuss sanctions with team, edit and
finalize pretrial memorandum for
partner review; analyze Abhai's
deposition designations, analyze
counter-designations.

 

 

8/5/17

 

$2,514.50

 

Draft reply in support of Shire's
motion to compel.

 

[28]

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 29 of 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

8/5/17 $4,207.50 Draft reply in support of motion to
compel, conduct factual and legal
citation check, edit and revise
reply, draft declaration in support
of reply, compile exhibits; analyze
deposition designations and counter
designations, discuss counter
designations with team.

8/6/17 $2,086.50 Revise reply in support of Shire's
motion to compel.

8/6/17 $1,850.00 Attention to reply to motion to
compel.

8/7/17 $960.00 Final review of Reply to Motion to
Compel Tabasso.

8/7/17 $1,850.00 Attention to reply to motion to
compel.

8/8/17 $1,230.50 Research case law for motion to
compel.

8/8/17 $2,387.50 Revise motion to serve reply reports,
motion to compel.

8/11/17 $1,850.00 Attention to motion to compel.

6/7/17 $476.00 Confer with D. Parker re: hearing on
motion to compel and related
research.

6/8/17 $297.50 Confer with D. Parker re: hearing on
motion to compel.

6/7/17 $476.00 Confer with D. Parker re: hearing on
motion to compel and related
research.

6/8/17 $297.50 Confer with D. Parker re: hearing on
motion to compel.

7/5/17 $2,942.50 Draft motion to compel.

7/5/17 $1,850.00 Attention to motion to compel and
discovery issues, including telephone
call with expert.

7/6/17 $1,979.50 Internal meetings re: motion to
compel; meet and confer with Axinn
re: same.

7/6/17 $3,049.50 Draft motion to compel.

7/6/17 $1,850.00 Attention to motion to compel.

7/10/17 $4,119.50 Revise motion to compel.

7/10/17 $749.00 Revise motion to compel; arrange for
filing.

7/29/17 $1,070.00 Draft outline for revisions to motion

 

 

to compel.

 

[29]

 

CaS€ 1215-CV-13909-WGY

Document 360 Filed 07/11/18 Page 30 of 37

 

7/29/17

$346.50

Analyze supplement to motion to
compel issues.

 

6/2/17

$720.00

Conference with K. Collins and J.
Elikan regarding motion to compel
documents from Abhai; issues to be
covered at upcoming scheduling
conference.

 

5/3/17

$3,103.00

Continued reviewing documents
produced by Abhai. Prepared for and
drafted outline for meet and confer
with opposing counsel. Participated
in meet and confer. Drafted and
circulated followup e-mails to
opposing counsel regarding meet and
confer. Reviewed motion to compel
briefing, E-mailed with Dr. Williams
regarding dissolution testing and
reviewed engagement letter for Dr.
Williams from NDA Partners.

 

5/3/17

$481.50

Prepare for discovery meet and
confer; participate in same.

 

5/3/17

$5,564.00

Draft and revise motion to compel.

 

5/3/17

$477.50

Review motion to compel.

 

5/3/17

$2,775.00

Attention to motion to compel.

 

5/4/17

$2,442.00

Review and comment on motion to
compel draft, Draft correspondence
re: same.

 

5/4/17

$1,080.00

Reviewed motion to compel discovery.

 

5/4/17

$2,775.00

Attention to motion to compel.

 

8/10/17

$2,312.50

Attention to motion to compel.

 

7/7/17

 

$3,905.50

 

Draft motion to compel; conduct legal
research re: same; evaluate offer to
disclose privileged materials.

 

 

TOTBJn

$ 302 , 593 . 008

 

 

8 This the total amount of money expended on the three

motions.
motions.

Shire is only entitled to recover on successful

[30]

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 31 of 37

Appendix C: Shire’s Category C: “Dealing with Abhai’s Revised
Stability Dissolution Data” Relevant Billing Entries

 

Time Spent with Dr. Luk and Juniper

 

Date

Amount

Description

 

5/8/17

$2,244.00

Set up dissolution testing. Emails
with S. Luk and R. Williams. Call
with R. Willaims re: same. Review
Williams engagement letter and send
comments to team. Calls with J.
Elikan and K. Collins re: testing.
Send and explain key materials to R.
Williams and S. Luk.

 

5/8/17

$833.00

Meeting with M. Davies, S. Luk re:
dissolution testing of Abhai samples,
forensic investigation of prior Abhai
dissolution testing, and follow-up
correspondence.

 

5/12/17

$726.00

Call with R. Williams and S. Luk re:
dissolution testing and litigation.
Send documents to Dr. Williams with
explanation.

 

5/12/17

$859.50

Participate in teleconference with R
Williams, S Luk re dissolution
testing.

 

5/16/17

$264.00

Call with S. Luk re: dissolution
(0.2), calls with K. Collins re: same
and motion to compel (0.20).

 

5/17/17

$330.00

Call with S. Luk re: dissolution
testing. Correspondence with team re:
same.

 

5/18/17

$66.00

Call with S. Luk re: dissolution
testing update.

 

6/1/17

$396.00

Call with S. Luk (0.4), work on
expert report (0.2).

 

6/13/17

$2,112.00

Work on Luk report, calls re: same.

 

6/13/17

$4,297.50

Work on S Luk report and confer with
same.

 

6/15/17

$4,686.00

Work on Luk, Williams, and Dressman
reports, Calls re: same. Work on
notes about dissolution for
depositions, send to team.

 

7/31/17

$4,297.50

Participate in teleconferences with J
Dressman, S Luk, M Davies re D
Burgess responsive supplemental
report and review same

 

 

8/8/17

 

$477.50

 

Review draft Shen Luk reply report.

 

[31]

 

Case 1:15-cv-13909-WGY Document 360 Filed 07/11/18 Page 32 of 37

 

8/17/17

$5,550.00

Prep Dr. Luk for deposition.

 

8/18/17

$535.00
($267.50)9

Finished drafting Reply Brief in
support of Motion for Leave to Serve
Reply Expert Reports of Drs. Dressman
and Luk.

 

8/18/17

$4,012.50

Attended and assisted with the
deposition of Dr. Luk.

 

8/18/17

$6,475.00

Defend deposition of Sheun Luk.

 

8/18/17

$595.00

Review Luk deposition transcript.

 

8/19/17

$990.00

Review Luk deposition.

 

8/21/17

$4,975.50
($2,487.75)

Drafted modules with questions on the
use of sinkers for the deposition of
Dr. Burgess. Reviewed and finalized
counter designations and objections
to Abhai’s designations from the
depositions of KVK witness. Finalized
Reply Brief in support of Motion for
Leave to Serve the Reply Expert
Reports of Drs. Dressman and Luk.
Managed finalization of deposition
designation materials in preparation
for submission to the court.

 

8/22/17

$5,136.00
($1,712.00)

Drafted sections of Proposed Findings
of Fact and Conclusions of La related
to the opinions of Dr. Luk and
circulated for review. Continued
drafting moguls related to the use of
sinkers for the deposition of Dr.
Burgess. Finalized objections to
Abhai's counter-designations form
depositions of KVK witnesses.

 

8/22/17

$476.00
($158.67)

Review, revise opposition to MlL re:
Dressman, Williams, and Luk expert
opinions.

 

8/23/17

$297.50
($99.17)

Revise opposition to MlL re:
Dressman, Luk, Williams expert
opinions.

 

8/31/17

 

 

$4,601.00
($2,300.50)

 

Reviewed and revised pretrial filings
and finalized for filing. Began
drafting outline for direct
examination of Dr. Luk.

 

 

9 The amounts in parentheses correspond to the fees

associated with Dr.
includes proper but-for tasks.

Luk’s work alone when a billing entry

As to those specific billing

entries, Shire’s fees are reduced by the amounts in parentheses.

[32]

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 33 of 37

 

9/2/17

$8,453.00

Continued preparing for trial by
drafting and revising outline for
direct examination of Dr. Shen Luk.
Conferred with E. Andersen and Dr.
Luk regarding same. Participated in
witness preparation and practice runs
of direct examination of Dr. Luk.
Finalized demonstratives for use
during direct examination of Dr. Shen
Luk.

 

9/2/17

$4,686.00

Trial prep: work on Luk outline and
review pretrial materials.

 

9/3/17

$8,399.50

Continued preparing for trial by
drafting and revising outline for
direct examination of Dr. Shen Luk.
Conferred with E. Andersen and Dr.
Luk regarding same. Participated in
witness preparation and practice runs
of direct examination of Dr. Luk.
Finalized demonstratives for use
during direct examination of Dr. Shen
Luk.

 

9/3/17

$8,844.00

Work with S. Luk on direct, cross,
and redirect. Revise Luk and Burgess
outlines.

 

9/4/17

$8,185.50

Assisted with trial preparation of
Dr. Luk. Reviewed and revised direct
outline for examination of Dr. Luk.
Drafted outlines on topics for
redirect examination of Dr. Luk.
Assisted with response to Abhai's
Emergency Motion to Exclude Dr. Luk’s
Testing. Finalized demonstratives for
Dr. Luk’s testimony and conferred
with opposing counsel regarding
objections to same.

 

9/4/17

$11,286.00

Work with Dr. Luk on direct, cross,
and redirect. Work on Luk direct and
Burgess cross, Work on

talking points for preliminaries

 

 

9/5/17

 

$9,416.00

 

Prepared for first day of trial.
Managed collection and organization
of materials needed for matters to be
addressed in court. Attended trial
and assisted with examination of Dr.
Luk. Assisted with review and
finalization of the outline for the

 

[33]

 

CaS€ 1215-CV-13909-WGY

Document 360 Filed 07/11/18 Page 34 of 37

 

cross-examination of Dr. Burgess and
managed finalization of related
materials.

 

9/5/17

$12,012.00

Attend trial: conduct direct and
redirect of Dr. Shen Luk. Attend team
meeting re: trial. Prep for Burgess
cross, revise outline.

 

6/16/17

$4,818.00

Work on Luk expert report and
opposition re: expert discovery.

 

6/21/17

$3,432.00

Finalize Luk report. Work on
opposition and expert reports.
Numerous calls and emails re: same.

 

5/2/17

$660.00

Draft correspondence to S. Luk re:
dissolution. Draft correspondence to
team re: same, calls re: same.

 

8/3/17

$3,049.50

Participated in meeting to discuss
finalization of draft to the Addendum
to the Pretrial Memorandum. Reviewed
proposed Supplemental Reply Report of
Dr. Luk. Drafted motion for leave to
serve the proposed Supplemental Reply
Report of Dr. Luk. Participated in
teleconference to discuss potential
motions in limine. Prepared Shire's
designations from depositions and
Shire's Witness List for service on
Abhai.

 

8/3/17

$1,980.00

Work on Luk reply report and Burgess
deposition outline

 

8/3/17

$600.00

Reviewed motion to serve Dr. Luk
reply expert report.

 

8/3/17

$7,831.00

Preparation meeting with J Dressman
and work on draft reply report for S
Luk.

 

8/6/17

$1,188.00

Work on Luk reply,

 

8/7/17

$1,914.00

Work with Dr. Luk on expert report.

 

8/7/17

$ll9.00

Review Luk draft reply report and
correspondence re: same.

 

8/8/17

$2,640.00

Work with S. Luk to finish report,
work on associated motion, assist
with filing. Correspondence with team
re: motions and expert discovery.

 

8/10/17

$1,452.00

Finalize deposition prep outline for
Luk, calls with A. Whitt re: same.

 

8/18/17

$198.00

Correspondence re: Luk deposition.

 

 

4/6/17

 

$3,696.00

 

Meetings re: ANDA stability data,
call with S. Luk

 

1341

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 35 of 37

 

 

calls and correspondence re:

 

re: same, revise discovery re: same,

Sam€ .

 

 

TOTAL :

$151, 096 . 59

 

1351

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 36 of 37

 

Analysis of Third Party and/or Adderall XR Dissolution Data

 

Date

Amount

Description

 

4/28/17

$357.00

Draft analysis of Adderall XR
stability dissolution data.

 

4/28/17

$2,142.00

Review Par and Amerigen ANDAs to
locate dissolution data and other
testing results for Adderall XR, Par
ANDA Product,

 

5/8/17

$416.50

Confer with J. Elikan, E. Andersen
re: request to Amerigen to use
Adderall XR testing results, and
related review of Amerigen ANDA.

 

5/9/17

$764.00

Confer with D Mizerk re Amerigen ANDA
information and draft e-mail, review
documents re same.

 

6/5/17

$191.00

Exchange e-mails re Amerigen
documents

 

6/26/17

$286.50

Exchange e-mails re document
certification from Par, Amerigen, and
review draft of same.

 

6/27/17

$3,153.50

Review Andrx, Watson, and Barr ANDAs
for information on dissolution and
other testing of Adderall XR; compile
results and perform data analysis.

 

6/30/17

$4,700.50

Review Barr and Teva ANDAs for
information on dissolution and other
testing of Adderall XR; compile
results and perform data analysis;
draft analysis of same.

 

7/5/17

$1,904.00

Excerpt dissolution documents from
Andrx, Watson, Teva, and Barr ANDAs
and mark for redaction; review ANDAS.

 

7/6/17

$535.50

Excerpt dissolution documents from
Andrx, Watson, Teva, and Barr ANDAs
and mark for redaction, organize same
and send to E. Andersen.

 

4/21/17

$3,391.50

Collect and analyze Adderall XR
dissolution data.

 

4/25/17

$238.00

Confer with J. Elikan re: Adderall XR
dissolution results and
manufacturing.

 

4/25/17

$952.00

Draft analysis of Adderall XR
dissolution data and Abhai capsule
stability dissolution data, and
correspondence re: same.

 

 

4/26/17

 

$l,309.00

 

Review Abhai document productions to
locate lab notebooks relating to

 

1361

 

Case 1:15-cV-13909-WGY Document 360 Filed 07/11/18 Page 37 of 37

 

Adderall XR testing, stability
dissolution testing, and send same to
expert.

 

4/26/17

$2,439.50

Review Shire NDA to find stability
dissolution data for Adderall XR and
compile and analyze same;
correspondence with paralegal re:
related project; draft analysis for
team.

 

4/27/17

$1,666.00

Compile and analyze Adderall XR
stability dissolution data.

 

4/28/17

 

$1,910.00

 

Review materials re dissolution data
in the Shire NDA and Abhai ANDA and
confer with E Andersen re same.

 

 

Total:

$ 26,356.50

 

1371

 

